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                                 IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                               )
                                                        )                     8:16CR52
                          Plaintiff,                    )
                                                        )
        vs.                                             )                       ORDER
                                                        )
PATRICIA M. URBANOVSKY,                                 )
                                                        )
                          Defendant.                    )


        This matter is before the court on the motion for an extension of time by defendant Patricia M.
Urbanovsky (Urbanovsky) (Filing No. 20). Urbanovsky seeks an additional three weeks in which to file pretrial
motions in accordance with the progression order. Urbanovsky's counsel represents that government's counsel
has no objection to the motion. Upon consideration, the motion will be granted.


        IT IS ORDERED:
        Defendant Urbanovsky's motion for an extension of time (Filing No. 20) is granted. Urbanovsky is given
until on or before August 8, 2016, in which to file pretrial motions pursuant to the progression order. The ends
of justice have been served by granting such motion and outweigh the interests of the public and the defendant
in a speedy trial. The additional time arising as a result of the granting of the motion, i.e., the time between

July 18, 2016, and August 8, 2016, shall be deemed excludable time in any computation of time under the
requirement of the Speedy Trial Act for the reason defendant's counsel requires additional time to adequately
prepare the case, taking into consideration due diligence of counsel, and the novelty and complexity of this case.
The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).


        DATED this 18th day of July, 2016.
                                                             BY THE COURT:

                                                             s/ Thomas D. Thalken
                                                             United States Magistrate Judge
